                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION


 2311 RACING LLC d/b/a 23XI RACING, and
 FRONT ROW MOTORSPORTS, INC.,

                       Plaintiffs,

                       v.

 NATIONAL ASSOCIATION FOR STOCK
 CAR AUTO RACING, LLC, NASCAR
 HOLDINGS, LLC, NASCAR EVENT
 MANAGEMENT, LLC, and JAMES FRANCE,

                       Defendants.
                                                           No. 3:24-cv-886-KDB-SCR
 NASCAR EVENT MANAGEMENT, LLC,

                       Counter-Plaintiff,

                       v.

 2311 RACING LLC d/b/a 23XI RACING,
 FRONT ROW MOTORSPORTS, INC., and
 CURTIS POLK,

                       Counter-Defendants.


                 JOINT MOTION TO AMEND PRETRIAL ORDER AND CASE
                               MANAGEMENT PLAN

       COME NOW THE PARTIES, pursuant to Rule 16(b)(4) of the Federal Rules of Civil

Procedure and Rule 16.01 of the Local Rules of the Western District of North Carolina, National

Association For Stock Car Auto Racing, LLC, NASCAR Holdings, LLC, NASCAR Event

Management, LLC (“NEM” or “Counterclaim Plaintiff”), and James France (collectively,

“Defendants”) and 2311 Racing LLC d/b/a 23XI Racing (“23XI”), Front Row Motorsports, Inc.

(“Front Row”), and Curtis Polk (collectively, “Plaintiffs” or “Counterclaim Defendants”) (the




   Case 3:24-cv-00886-KDB-SCR               Document 114   Filed 03/21/25     Page 1 of 7
parties collectively, the “Parties”). The Parties respectfully move this Court to enter an Amended

Pretrial Order as set forth below.

           1. On December 20, 2024, the Court issued its Pretrial Order and Case Management

Plan (Doc. No. 84) (“PTO”).

           2. The PTO contained, among other things, the following discovery plan:

                   a. Plaintiffs’ expert reports are due July 15, 2025.

                   b. Defendants’ expert reports are due July 30, 2025.

                   c. Rebuttal reports are due August 15, 2025.

                   d. Completion of Discovery is due September 19, 2025.

                   e. Mediation Report is due September 26, 2025.

                   f. Each side may take no more than 12 depositions of non-expert witnesses.

                   g. Plaintiffs are permitted to take a 30(b)(6) deposition of NASCAR (lasting

                       up to 14 hours over 2 days not including any questioning by Defendants’

                       counsel) and a deposition of Defendant James France (lasting up to 14 hours

                       over 2 days not including any questioning by Defendants’ counsel).

           3. On March 5, 2025, Defendants filed an amended answer, and NEM filed a

counterclaim against 23XI, Front Row, and Curtis Polk (Doc. No. 111) (the “Counterclaim”).

           4. Pursuant to Federal Rules of Civil Procedure 16(b)(4), a scheduling order may be

modified for “good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4).

           5. To date, the Parties have used their best efforts to exercise diligence in proceeding

with this case. Good cause exists to amend the PTO in light of the need for additional time to

prepare expert reports and additional discovery related to the Counterclaim.




                                              2
   Case 3:24-cv-00886-KDB-SCR             Document 114        Filed 03/21/25     Page 2 of 7
           6. In consideration of the Court’s request that the Parties work cooperatively to

address scheduling or other disputes (Jan. 8, 2025 Hr’g Tr. at 19:07-12), the Parties have conferred

and proposed modifications to the PTO. These modifications do not affect the proposed dates for

summary judgment or trial.

           7. DISCOVERY PLAN

           The Parties have conferred and propose to the Court the following amendments to the

           PTO:

               a. Plaintiffs’ and Counterclaim Plaintiffs’ expert reports are due July 15, 2025.

               b. Defendants’ and Counterclaim Defendants’ expert reports are due August 15,

                   2025.

               c. Rebuttal expert reports are due September 8, 2025.

               d. Completion of Discovery is due September 24, 2025.

               e. Mediation Report is due September 26, 2025.

               f. Each side may take no more than 17 depositions of non-expert witnesses.

               g. Defendants are permitted to take a deposition of Counterclaim Defendant

                   Curtis Polk (lasting up to 14 hours over 2 days not including any questioning

                   by Counterclaim Defendants’ counsel).

               h. The Parties’ initial disclosures, or amended initial disclosures as applicable,

                   are due March 24, 2025.

               i. In the event that the Counterclaim is dismissed with prejudice, the Pretrial

                   Order and Case Management Plan entered on December 20, 2024 will govern,

                   with the exception of the modifications to the case schedule and deadlines




                                              3
   Case 3:24-cv-00886-KDB-SCR             Document 114         Filed 03/21/25     Page 3 of 7
                    contained in Sections III.I and III.J of the Amended Pretrial Order and Case

                    Management Plan.

             8. The Parties believe these amendments will facilitate prompt and just resolution of

this case.

             9. This request is not made for the purpose of delay, and no party will be prejudiced

by the amending the PTO.

             10. This is the Parties’ first request to amend the PTO.

             WHEREFORE, the Parties respectfully request that the Court amend the PTO set forth

in the proposed order submitted contemporaneously with this motion.




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                                                4
    Case 3:24-cv-00886-KDB-SCR              Document 114        Filed 03/21/25       Page 4 of 7
Dated: March 21, 2025             Respectfully submitted,



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                                    5
   Case 3:24-cv-00886-KDB-SCR   Document 114      Filed 03/21/25    Page 5 of 7
                                    Car Auto Racing, LLC, NASCAR Holdings,
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                                 6
Case 3:24-cv-00886-KDB-SCR   Document 114   Filed 03/21/25     Page 6 of 7
                     ARTIFICIAL INTELLIGENCE CERTIFICATION

       I hereby certify the following:

       1.      No artificial intelligence was employed in doing the research for the preparation of

this document, with the exception of artificial intelligence embedded in the standard on-line legal

research sources, such as Westlaw, Lexis, FastCase, and Bloomberg.

       2.      Every statement and every citation to an authority contained in this document has

been checked by an attorney in this case and/or a paralegal working at his/her direction as to the

accuracy of the proposition for which it is offered, and the citation to authority provided.


       This the 21st day of March, 2025.


                                                                     /s/ Tricia Wilson Magee




                                               7
   Case 3:24-cv-00886-KDB-SCR              Document 114        Filed 03/21/25      Page 7 of 7
